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) ' /r'F/’_ 05 />S;L/<;'i',>
v. ) Case No: 05-1087 T An °/(51;,`/ sic `5
) "’
CROCKETT COUNTY AMBULANCE SERVICE,)
and BRANDON WARD, Individually )
Defendant(s) )

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to the Scheduling conference Set by written notice, the following dates are established as the
final dates for:

INITIAL DISCLOSURES (RULE 26(a)(1))= Augusr 12, 2005

.]OINING PARTIES:
For Plaintiff: September 29, 2005
For Defendant: October 29, 2005
AMENDING PLEADINGS
For Plaintiff: Septernber 29, 2005
For Defendant: October 29, 2005

COMPLETING ALL DISCOVERY: February 13, 2006

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and REQUESTS

FOR ADMISSIONS: February 13, 2006
(b) EXPERT DISCLOSURE (RULE 26(a)(2)):
(i) Plaintiff’s Experts: December 15, 2005
(ii) Defendant’S Experts: January 15 , 2006
(iii) Supplementation under Rule 26(e)(2): February l, 2006

(e) DEPOSITIONS OF EXPERTS: Februal'y 13, 2006
FILING DISPOSITIVE MOTIONS: Mareh 13, 2006

FINAL LIsT oF WTINESSES AND EXHIBITS (Rule 26(a)(3)):

(a) for Plaimiff: Ma¥ 14= 2006 This document entered on the docket sheet ln compliance
(b) for Defendant: Aprll 29, 2006 with ama 55 and:°r 79 (a) FF\CP on 7 " 05 ®

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Parties shall have § days after service of final lists of witnesses and exhibits to file objections

under Rule 26 (a)(3).

The trial of this matter is expected to last three (3) days and is SET for JURY TRIAL on
Monday, June 12, 2006 at 9:30 A.M. A joint pre-trial order is due on Friday, June 2, 2006. In the event the
parties are unable to agree on a joint pre-trial order, the parties must notify the court at least ten days before
trial.

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admissions must be submitted to the
opposing party in sufficient time for the opposing party to respond by the deadline for completion of
discovery. For example, if the FRCP allow 30 days for a party to respond, then the discovery must be
submitted at least 30 days prior to the deadline for completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or Within 30 days
of the default or service of the response, answer, or objection which is the subject of the motion if the
default occurs within 30 days of the discovery deadline, unless the time for filing of such motion is
extended for good cause shown, or any objection to the default, response, or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(1 )(A) and (a)( l )(B), all motions,
except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a proposed Order and a
Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party may tile an
additional reply, however, without leave of the court. If a party believes that a reply is necessary, it shall
file a motion for leave to file a reply accompanied by a memorandum setting forth the reasons for which a
reply is required

The parties may consent to trial before the Magistrate Judge. The Magistrate J'udge can normally
provide the parties with a definite trial date that will not be continued unless a continuance is agreed to by
all parties, or an emergency arises Which precludes the matter from proceeding to trial.

The parties are encouraged to engage in court-annexed attorney mediation or private mediation on
or before the close of discovery

This order has been entered after consultation with trial counsel pursuant to notice. Absent good
cause shown, the scheduling dates set by this Order Will not be modified or extendedl

IT IS SO ORDERED.
<§."/'ZM.. @J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: QZ/£-. I<l’_ 2004'
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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case l:05-CV-01087 was distributed by fax, mail, or direct printing on
.luly ll, 2005 to the parties listedl

 

 

.lustin Gilbert

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Jacl<son, TN 38305

Honorable .l ames Todd
US DISTRICT COURT

